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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 OTTO TIMES INTERNATIONAL,
 LTD.,                     Civil Action No. 2:24-cv-00824-BRM-JBC
                                  Plaintiff,
         v.
                                               SUBSTITUTION OF COUNSEL
 DGL GROUP, LTD., et al.,
                           Defendants.

         The undersigned consents to the substitution of Wendy Chiapaikeo, Esq., of

 Ballard Spahr LLP, as counsel for Plaintiff, OTTO Times International, Ltd. in place

 of the law firm of Price, Meese, Shulman & D’Arminio, P.C. in the above-captioned

 matter.

 Dated: April 23, 2025                                 Dated: April 23, 2025
 s/ Thomas C. Martin                                   s/Wendy Chiapaikeo
 Thomas C. Martin, Esq.                                Wendy Chiapaikeo, Esq.
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 tmartin@pricemeese.com
                                                       Superseding counsel for Plaintiff
 Withdrawing counsel for Plaintiff                     OTTO Times International, Ltd.
 OTTO Times International, Ltd.

 Dated: April 23, 2025
 s/ William D. Bierman
 William D. Bierman, Esq.
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